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                                                                            2021 Apr-23 PM 03:21
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         MIDDLE DIVISION

JOSHUA OTWELL, et al.,                     ]
                                           ]
      Plaintiffs,                          ]
                                           ]
v.                                         ]           4:19-cv-01120-ACA
                                           ]
HOME POINT FINANCIAL CORP.,                ]
                                           ]
      Defendant.                           ]

                    AMENDED PARTIAL JUDGMENT

      Consistent with the accompanying order, the court ENTERS SUMMARY

JUDGMENT in favor of Defendant Home Point Financial Corporation and against

Plaintiffs Joshua Otwell and Danna Danna Lee Otwell as to: (1) the part of Count

One seeking statutory damages and (2) Count Five.

      The remaining claims will proceed.

      DONE and ORDERED this April 23, 2021.



                                  _________________________________
                                  ANNEMARIE CARNEY AXON
                                  UNITED STATES DISTRICT JUDGE
